                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION


 In the Matter of:                                        }
 TAYLOR RAMIREZ                                           }    CASE NO. 19-81040-CRJ-7
 SSN: XXX-XX-3776                                         }
 ASHLEY RAMIREZ                                           }    CHAPTER 7
 SSN: XXX-XX-3415                                         }
                   Debtor(s).                             }


                               ORDER DENYING DEBTORS’ MOTION
                                   TO SET ASIDE DISCHARGE


         Before the Court is the Debtors’ Motion to Set Aside Discharge to allow the Debtors and
 PNC Bank to file a Reaffirmation Agreement. On July 3, 2019, the Court entered an Order of
 Discharge, granting the Debtors’ Chapter 7 discharge. The Debtors state that they filled out a
 reaffirmation agreement for their homestead and returned the agreement to the mortgage holder,
 PNC Bank, but PNC was unable to file the agreement before the Debtors’ discharge was entered.

          Section 524(c) of the Bankruptcy Code provides that a reaffirmation agreement is
 enforceable "only if -- (1) such agreement was made before the granting of the discharge under
 section 727, 1141, 1228, or 1328 of this title." 1 Any reaffirmation agreement that does not meet
 the strict requirements of 11 U.S.C. § 524(c) is unenforceable. 2 The timing requirement imposed
 by § 524(c)(1) is a matter of substantive statutory law which cannot be waived or extended after
 the entry of discharge. 3 Accordingly, this Court has consistently held that a reaffirmation
 agreement executed post-discharge is unenforceable and that the Court lacks jurisdiction to vacate
 a discharge order for the purpose of approving a reaffirmation agreement executed in violation of
 11 U.S.C. § 524(c).

         Rule 4008(a) of the Federal Rules of Bankruptcy Procedure further provides that a
 “reaffirmation agreement shall be filed no later than 60 days after the first date set for the meeting
 of creditors under § 341(a) of the Code. . . .” 4 In this case, the first date set for the Chapter 7 § 341


 1       11 U.S.C. § 524(c)(1)(emphasis added).

 2         See In re Eastep, 562 B.R. 783, 788 (Bankr. W.D. Okla. 2017)(explaining that a “majority of courts hold
 that a reaffirmation agreement made post-discharge is unenforceable”).

 3       In re Cottrill, 2007 WL 1760927 *2 (Bankr. N.D. W. Va. 2007)(Athe statutory requirement cannot be
 waived or extended after discharge occurs@); In re Graham, 297 B.R. 695, 699 (Bankr. E.D. Tenn. 2003).

 4       FED. R. BANKR. P. 4008(a).




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 Meeting of Creditors was May 3, 2019. Accordingly, any reaffirmation agreements were required
 to be filed no later than July 2, 2019.

         Congress imposed a limited period for entering into reaffirmation agreements to protect
 debtors from making “ill-advised” decisions after having their debts discharged. 5 Thus, once the
 Bankruptcy Court grants the debtor’s Chapter 7 discharge, the deadline for entering into a
 reaffirmation agreement expires, and the Bankruptcy Court lacks jurisdiction to approve an
 agreement subsequent to the discharge date. 6 As explained in the case of In re Eastep, 562 B.R.
 783 (Bankr. W.D. Okla. 2017), there is no legal basis to revoke a debtor’s discharge to file a
 reaffirmation agreement:

          Although not a direct issue here, the Court notes that it would not entertain an “end
          run” motion to revoke the discharge order for the purpose of filing a reaffirmation
          agreement. Section 727(d) specifically provides that the Court will only revoke a
          discharge on the timely request of the trustee or a creditor and, then, only on the
          grounds specified. “There is no provision for the setting aside of a discharge upon
          the insistence of the debtors themselves, nor is there a provision that the debtors'
          desire to reaffirm a debt is cause for revocation of a discharge.” In re Pettet, 271
          B.R. 855 (Bankr. S.D. Ind. 2002); In re Kirk, 2014 WL 1248040 (Bankr. N. M.
          2014) (holding the court has no ability to retroactively vacate a discharge order for
          the purpose of permitting the filing of the reaffirmation agreement); In re Engles,
          384 B.R. 593 (Bankr. N.D. Okla. 2008) (“This court is not alone in its conclusion
          that a bankruptcy court does not have the authority to vacate a discharge for the
          purpose of filing a post-discharge reaffirmation agreement.”); and In re Carrillo,
          2007 WL 2916328 (Bankr. D. Utah 2007) (“Section 524(c)(1) is clear on its face.
          A debtor must enter into a reaffirmation agreement before a discharge is issued.
          The Court would undermine this statutory requirement and obfuscate its importance
          if it granted the relief requested. The debtor does not point any specific authority
          which would allow the Court to reach such a result and neither does the Court
          believe that such authority exists.”). 7


 5        See In re Cottrill, 2007 WL 1760927 *2 (Bankr. N.D. W. Va. 2007).

 6         See In re Eastep, 562 B.R. 783, 788 (Bankr. W.D. Okla. 2017); In re Gibson, 256 B.R. 786, 788-89 (Bankr.
 W.D. Mo. 2001); In re Stewart, 355 B.R. 636, 638 (Bankr. N.D. Ohio 2006)(refusing to vacate debtor=s discharge for
 the limited purpose of approving a reaffirmation agreement and finding that bankruptcy courts are without jurisdiction
 to approve a reaffirmation agreement once discharge has entered); In re Farris, 2009 WL 6499264 (Bankr. N.D. Ga.
 2009)(courts lack jurisdiction to approve post-discharge reaffirmation agreements); In re Graham, 297 B.R. 695, 699
 (Bankr. E.D. Tenn. 2003)(explaining that the unambiguous language of ' 524(c) provides that reaffirmation
 agreements must be entered into prior to discharge to have legal significance).

 7        In re Eastep, 562 B.R. at n.4.

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         Pursuant to 11 U.S.C. § 524(c), and in conformity with a majority of the courts having
 ruled on this issue, the Court finds that it lacks authority to vacate the Discharge Order for the
 limited purpose of extending the time for the Debtors to enter into a reaffirmation agreement with
 PNC Bank.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Debtors’
 Motion to Set Aside Discharge is DENIED.


 Dated this the 8th day of July, 2019.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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